                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                  Plaintiff,

      v.                                          Case No. 16-cr-21-pp

SAMY MOHAMMED HAMZEH,

                  Defendant.


    ORDER GRANTING THE DEFENDANT’S FIRST MOTION IN LIMINE:
                 ENTRAPMENT (DKT. NO. 234).


      On January 25, 2016, the defendant was arrested after purchasing two

machineguns from an undercover FBI agent. Dkt. No. 234 at 24. The arrest

closed a four-month undercover investigation of the defendant for alleged

potential terrorism crimes, including an alleged plot to attack a Masonic

Temple. See generally Dkt. No. 255. The defendant was charged with two

counts of possession of an unregistered machinegun and one count of an

unregistered silencer. Dkt. No. 6; see also 26 U.S.C.A. §5861(d).

      In its first motion in limine, the defendant seeks leave to present evidence

at trial in support of an affirmative defense of entrapment. Dkt. No. 234. The

government opposes the request. Dkt. No. 255. The court will grant the

defendant’s motion.




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I.    Factual Background

      For reasons that will become clear during the analysis portion of this

order, the court takes most of the facts from the defendant’s forty-page motion

in limine, which he describes as a factual proffer.

      The defendant is a United States citizen, a Muslim and has no prior

criminal history. Dkt. No. 234 at 27. He was born in America but lived in

Jordan from infancy until the age of eighteen. Dkt. No. 47 at 7. At the time of

the alleged offenses, he was twenty-four years old, lived “at home” (presumably

with his parents) and worked at various restaurant jobs in Milwaukee. Dkt. No.

234 at 6. According to the defendant, in August of 2015, the defendant’s best

friend Steve called the FBI’s main line. Id. The defendant claims that Steve was

concerned about his immigration status. Id. According to the defendant, Steve

continued calling the FBI over the next four weeks. Id.

      The defendant asserts that in an FBI memo dated September 16, 2015,

three agents describe the first in-person meeting Steve has with the FBI. Id. at

6–7. The defendant says that Steve claimed the defendant “was talking about

traveling to Egypt for terrorist training, obtaining a commercial driver’s license

to conduct a terrorist attack in the name of ISIS, and getting a .45 caliber

pistol.” Id. at 7. The defendant asserts that a week later (September 24), Steve

reported that the defendant had “changed his mind about doing stupid things,”

and that it was “a bunch of bullshit.” Id.; see also Dkt. No. 270 at 6. According

to the defendant, Steve thought that the defendant’s biggest flaw was that he

“lies all the time.” Dkt. No. 234 at 7.

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      The defendant alleges that on September 24, 2015, the FBI directed a

“confidential human source,” or “CHS,” who went by the name “Mike,” to take a

job at the same restaurant where Steve and the defendant worked; the

defendant alleges that Mike spent the next few months with the defendant on

almost a daily basis. Id. The defendant reports that on October 2, Mike showed

the defendant and Steve a gun in his car. Id. at 8; Dkt. No. 270 at 6. The

defendant later was recorded asking Mike about his “Kalashnikov.” Dkt. No.

234 at 8. The defendant asserts that Steve, Mike and the defendant use the

word “Kalashnikov” interchangeably with the word “machinegun.” Id.

      On November 2, Mike had his first recorded conversation with the

defendant. Id. at 7; Dkt. No. 270 at 6. (Many other recorded conversations

followed, and many are in Arabic. See Dkt. No. 234 at 20.) According to the

defendant, during the November 2 conversation, the defendant told Mike that

he wanted a “gun for training,” id.; dkt. no. 234 at 8, and that he’d never been

shooting before, dkt. no. 270 at 6. The government asserts that the defendant

also said that he wanted to shoot “Jews” and steal their “Kalashnikovs.” Dkt.

No. 255 at 20, 28.

      The defendant next points to a November 11 recorded conversation, in

which he told Steve that he wanted a “pistol” because he was beginning a new

job delivering on the north side and needed it for protection. Dkt. No. 234 at 8.

The defendant says that he asked Mike to get him a pistol for the same reason.

Id.; Dkt. No. 270 at 6.




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      On November 12, Mike asked the defendant why he (the defendant)

wanted a pistol. Dkt. No. 234 at 8–9; Dkt. No. 270 at 6. The defendant told

Mike that it was for work, and specifically for protection when he traveled to

high-crime areas of Milwaukee. Id. The government asserts that the defendant

also said he wanted to kill soldiers, take their machineguns and kill people in a

“temple.” Dkt. No. 255 at 9.

      The defendant contends that in a recorded conversation from November

19, he again told Mike that he wanted a pistol for protection. Dkt. No. 234 at 9;

Dkt. No. 270 at 6. He says that a couple of weeks later, on December 4, Mike

reported back to his handlers that the defendant “wants to meet with CHS and

possibly have the CHS accompany him to Gander Mountain to purchase a

pistol.” Dkt. No. 234 at 9; Dkt. No. 270 at 7.

      The two traveled to Gander Mountain on December 7. Id. They discussed

the impending election and its potential effect on the Muslim-American

community. Id. The defendant states that Mike was recording the

conversation, which included the following exchange:

      Mike: I do not know why you need a handgun
      Defendant: I have to have it, man
      Mike: Pardon me?
      Defendant: Because it is going to flare up.
      Mike: Handgun, do you mean a gun or what? Like what?
      Defendant: A handgun.
      Mike: Or machinegun?
      Defendant: Yeah.
      Mike: Pardon me? [Noise] [Background voices] Pardon me?
      Defendant: A handgun, man! What do I need a machinegun for?
      …
      Mike: You got excited about the handgun, right?
      Defendant: Oh, yeah.
      Mike: Which one? Did you see the machine guns?
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      Defendant: What?
      Mike: Did you see the machine guns?
      Defendant: A machine gun is too big for us right now, we do not want it.
      Mike: Yeah?
      Defendant: Where are you going to put the machine guns?
      Mike: Yeah [Pause] So we would know, man.
      Defendant: A handgun is enough.
      Mike: What?
      Defendant: A handgun is enough. I like this handgun with the wheel.

Dkt. No. 234 at 10–11.

      The defendant also reports that Mike told the defendant that they could

buy cheap “Kalishnikovs” from a man in Texas. Id. The defendant responded

that he wants a pistol “for protection only.” Id. The government asserts that the

defendant also said in this conversation that it’s acceptable to shoot people for

“cussing the Messenger, or cussing God or the Qur’an.” Dkt. No. 255 at 14.

      According to the defendant, when Mike dropped the defendant off after

their trip to Gander Mountain, he told the defendant that he’d be getting guns

with no serial numbers. Dkt. No. 234 at 11. The defendant refused, telling Mike

that “they will ‘fuck you’” if Mike buys illegal guns. Id. The defendant also told

Mike to “leave matters for now until it gets really serious.” Id. at 12.

      The defendant reports that a week later, on December 14, Mike took him

to the shooting range. Id. at 12; Dkt. No. 270 at 7. In their recorded

conversation, the defendant asks Mike why Mike didn’t bring his “Kalashnikov”

to the range. Dkt. No. 234 at 12. Mike says that his Kalashnikov is too strong

to use there. Id. According to the defendant, Mike continued to “badger” the

defendant about carrying out an “operation” and about why he wanted Mike to

get him a handgun. Id. The defendant told Mike to “leave [him] alone” and says


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that Mike asks him the same question “every day.” Id. Mike responded that he

asked because the defendant had a “different mentality every day.” Id. The

defendant reiterated that he wants a handgun “for the house . . . not for

anything else.” Id. at 13.

      The defendant alleges that after this trip to the shooting range1, Mike

stopped recording conversations, but continued to meet the defendant daily.

Id.; Dkt. No. 270 at 7. The defendant says that on January 4, 2016, Mike

reported to the FBI that the defendant had asked Mike to obtain a weapon for

the defendant and a co-worker because the co-worker had been carjacked. Dkt.

No. 234 at 13. Mike also reported that the defendant told him he wanted a

weapon because “the war will be soon . . . you’ll see.” Id. Mike reported that the

defendant had made no further comments about “his plan to attack overseas or

within the homeland.” Id.

      The defendant says that on January 8, 2016, Steve told the FBI that

“[the defendant] no longer speaks about jihad with CHS, [the defendant]

recently has told CHS that [the defendant] intended to travel to Jordan for a

vacation.” Id. at 14. He says that January 11, Mike reported to the FBI that the

defendant had asked him to go to a gun store to look at guns; the defendant

says that Mike told the FBI that “he believed this was because he had been

talking to [the defendant] about the AK-47 he owned.” Id. at 14. The defendant




1 The defendant asserts that Mike took the defendant to the shooting range
“[o]n several occasions.” Dkt. No. 234 at 8.
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asserts that Mike also told the agents that the defendant “hadn’t recently

spoken about traveling for Jihad.” Id.

      The defendant proffers that between January 1 and January 16, 2016,

the FBI “conducted near-constant surveillance” on the defendant; the

defendant says this surveillance “inexplicably” stopped on January 17 and 18,

but resumed on January 19 “when Mike met with the FBI and claimed that on

January 17 and 18 (the only days when [the defendant] was not being watched)

the defendant was talking about an attack on the Masonic Center in

Milwaukee.” Id. at 15. The defendant says that on January 19, Mike reported to

the agents that he, Steve, the defendant and another person had watched

internet videos about the Masons and were planning an attack; Mike also

reported that the defendant claimed to have saved $7,000 to fund a trip to

Texas with Mike to buy “Ak-47s, silencers, and bullet-proof vests.” Id.

      According to the defendant, that same day—January 19, 2016—Mike

resumed recording his conversations with the defendant. Id. at 15; Dkt. No. 270

at 7. The defendant says that “out of the blue, Mike, Steve and [the defendant]

had discussed an attack on the Masonic Center;” the defendant asserts that this

was a “sudden development.” Id. The defendant indicates that the defendant told

Steve and another man that Mike had come to the defendant about two weeks

earlier and started talking about the Masonic Temple, and saying that Masons

spread negative propaganda against Islam and the Prophet Muhammad. The

defendant said that Mike told him that the Masons were ISIS, were anti-Islam

and tarnished the Prophet’s image. Id. at 16. The defendant claims that this

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conversation spanned the evening of January 19 into the wee hours of January

20, and included the defendant’s complaint to Steve that Mike “brainwashes

you,” and telling Steve that attacking the Masonic Center was Mike’s idea. Id. at

16-17.

      Another significant event occurred on January 19. According to the

government, that day the three men toured the Masonic Center in Milwaukee

and discussed their plan of attack. Dkt. No. 255 at 1, 10, 16–17. The defendant

also states that on January 19, “the three men toured the Masonic Center and

discussed plans to attack it.” Dkt. No. 234 at 17. The defendant states that

      on that day . . . [the defendant] makes a number of statements about
      Mike obtaining machine guns and silencers from his associates;
      about entering the Masonic Center and shooting everyone there;
      about the attack becoming known all over the world; about the
      attacks defending Islam; and about how if he gets out after killing
      30 people, he will be happy because everyone will know that nobody
      can play with Muslims. It’s also on January 19 that [the defendant]
      states that the Masons are “playing with the world like a game, and
      that these are the ones who are against us, these are the ones who
      making living for us like hell.

Id. The defendant asserts that “something happened in early- to mid-January

that caused [the defendant] (who had never before discussed the Masons with

the informants) to believe [the Masons] were affiliated with ISIS and were a

danger to Muslims.” Id. From the defendant’s perspective, “[t]he weight of the

contemporaneous evidence indicates that what happened is that Mike did, in

fact, ‘brainwash’ [the defendant] about the Masons,” and he asserts that “Mike

. . . had to have proposed the plan,” pointing to testimony from one of the

agents that Mike came up with the plan to have people come up from Texas

and bring machine guns “on his own.” Id.at 17-18. The government argues that
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the defendant came up with the plan to attack the Center, and points to

recorded comments by the defendant that day explaining how he would carry it

out. Dkt. No. 255 at 7-11. The government also asserts that the defendant

repeatedly asked for Mike to contact his man in Texas (the man Mike

mentioned in December) so that they could buy weapons. Id.

         The defendant proffers that on January 21, 2016—two days after the

tour of the Masonic Center—the defendant “alluded to a YouTube video that

showed the Masons eating hearts and said that the Masons created ISIS to

destroy Islam and kill Muslims.” Dkt. No. 234 at 16. He indicates that that

night,

         There also were discussions about a video linking the Masons with
         ISIS fighters. [The defendant] stated his belief that the Masons
         created ISIS to kill Muslims around the world.

Id. at 16.

         According to the defendant, there were other “troubling” conversations

between him, Steve and Mike “filled with gory detail about finding a Masonic

temple to attack, and the three boasted of making a plan for the following

week.” Id. at 18. He asserts, however, that the plan kept shifting, and that he

came up with different ruses “to back out.” Id. He says that as the details of the

plan changed—from, for example, a plan to attack a temple in Milwaukee to

one in “downtown Texas” to one in Indiana—he “made up stories that would

further postpone the plan.” Id. Finally, the defendant says, he sought spiritual

advice from a local Imam, against the instructions of Steve and Mike not to talk

to anyone. Id. He says that “[o]n Sunday, January 24th, after seeing the Imam,

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[the defendant] went to Steve’s hotel room and forcefully announced that he

wasn’t going through with the plan,” telling Steve and Mike that the Imam had

advised him that the plan would “hurt all Muslims, and it was forbidden.” Id.

The defendant says that when Steve pushed back, he (the defendant) continued

to argue that the plan was forbidden. Id. at 19.

       Nonetheless, the defendant says that he indicated that “They would get

the weapons the next day.” Id. at 20. He says that he did not use the Arabic

word for machinegun, but the generic word for weapon. Id. He says that he

agreed to get the weapons because “Mike’s friend”—presumably the person

from Texas—who was providing the guns, might be reluctant to trust them in

the future if they backed out.” Id. The defendant says that when Steve

reiterated that he was ready to go forward with the plans, the defendant said

no, based on the Iman’s logic. Id. The defendant says that while he agreed to

get the weapons, and even agreed to practice shooting, he rebuffed Steve every

time Steve brought up “the plan.” Id. at 20-21. And he says that he stated that

the men didn’t need a silencer for the guns (in the context of discussing target

shooting). Id. The government asserts that the defendant also told Mike, “[y]ou

are getting an unlicensed weapon. This is what we are getting.” Dkt. No. 255 at

29.

       The defendant says that the three men decided to go play pool, agreeing

to pick up the guns the following morning and then to see the Imam in the

afternoon. Dkt. No. 234 at 21. The defendant says that on the way to the pool

hall, Steve again insisted that he was ready to through with the plan, but the

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defendant told him to see the Imam. Id. After playing pool, the men talked

about places that they could practice shooting. The defendant says that Steve

“took another run at getting [the defendant] to agree to an attack despite [the

defendant’s] repeated statements that he was not interested,” and that the

defendant continued to suggest consulting Imams (including his uncle). Id. at

21-23. The defendant describes extensive discussions among the men, which

he says culminated in him saying, as he got out of the car to go home, “let me

out of it, and I’m telling you this thing is not permissible, it is not permissible.”

Id. at 23.

      The defendant indicates that the next morning, January 25, 2016, Steve

and Mike texted him, and the three met at Steve’s hotel room “to hang out

while waiting for the call from Mike’s gun contact.” Id. The defendant says that

as they were getting ready to leave, he asked “if he would be able to license the

weapon he was going to buy,” but that Mike responded that he couldn’t. Id. The

defendant asserts that “he had $200 but needed to borrow the rest from Steve,

so he’d have $300 that the weapons were supposed to cost;” he asserts that

this fact “exposed his earlier posturing that he had $7,000 or more to travel to

the Middle East as mere bluster.” Id.

      The defendant asserts that when he met with Mike’s source—in actuality,

undercover FBI agents—and saw the guns, he asked whether “they had any

smaller guns.” Id. The agents said that they didn’t. The defendant says he

“inspected the weapons,” one of which had a silencer on it, and asked Mike if it

was “the same one you had, that’s what you told us about.” Id. Mike responded

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that it was like the one he had, but black. Id. The defendant says that when he

observed that the gun he was looking at was “big,” Mike responded that it was

the same size. Id. at 23-24. The defendant says that the undercover agent then

said that the silencer did not come off, and that the agents wanted $1,000 for

both guns. Id. at 24. He says that because that amount was more than either

he or Steve had, the agents reduced the price, first to $600 and then to $570

total, $300 “for Steve’s weapon and $270 for [the defendant’s.]” Id. The

defendant asserts that one of the guns, a Heckler & Koch, MP5SD, 9x19mm,

“is valued at roughly $15,000 - $20,000,” while the other, a Heckler & Koch,

MP5/10, 10mm “is valued at approximately $3,000 - $4,000.” Id.

      The defendant says that the money changed hands, and then that he

tried to go to the car to get a bag for the weapons, but that the agents told him

to just put them in a green bag that they’d brought. Id. The defendant did that,

and says that “Steve then had [the defendant] carry the bag (which included

the gun that [the defendant] bought and the one that Steve bought) to the car.”

Id. He says that after the guns “were in the trunk,” the three men got into the

car, and that the defendant “became upset with Mike.” Id. He asserts that the

guns that they bought “were not the same as the gun that Mike owned and

that he’d been told they were buying.” Id. He says that he expressed “dismay at

buying firearms that were different from the ones they came for.” Id. The

defendant says that as Mike was telling him to calm down, agents surrounded

the car and arrested the defendant. Id. at 25. He asserts that “no one can

purchase these weapons without first paying a $200 tax, and according to one

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long-time law enforcement officer in Milwaukee, [the officer] had never seen

fully automatic firearms for sale on the street.” Id.

       The government asserts that after the defendant was arrested, he made a

statement. Dkt. No. 255 at 3. The government says that when the interviewing

agent asked the defendant why he needed to buy an automatic weapon, the

defendant responded that he liked weapons, that “[w]e tried guns and like

guns, that’s why we think about automatic weapons. Just to practice and have

fun, that’s it.” Id. The government says that in this same interview, the

defendant says that he was the person who told Mike and Steve about “it;” the

government says that “it” was the plan to attack the Masonic Center. Id. at 7.

II.    Law Governing the Entrapment Defense

       “Law enforcement officials go too far when they ‘implant in the mind of

an innocent person the disposition to commit the alleged offense and induce its

commission in order that they may prosecute.’” Jacobson v. United States, 503

U.S. 540, 553 (1992) (quoting Sorrells v. United States, 287 US. 435, 442

(1932) (emphasis in Jacobson)). “When the government’s quest for convictions

leads to the apprehension of an otherwise law-abiding citizen who, if left to his

own devices, likely would have never run afoul of the law, the courts should

intervene.” Id. at 553-54. A defendant is entitled to present the affirmative

defense of entrapment “whenever there is sufficient evidence from which a

reasonable jury could find entrapment.” Mathews v. United States, 485 U.S.

58, 62 (1988). One of the “most important function[s]” of the defense is to

“ensure that people who are not predisposed to commit a crime are not

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transformed into criminals by the government.” United States v. Pillado, 656

F.3d 754, 765 (7th Cir. 2011) (citing Sorrells, 287 U.S. at 442 and Sherman v.

United States, 356 U.S. 369, 372 (1958)).

        “[A] valid entrapment defense has two related elements: government

inducement of the crime, and a lack of predisposition on the part of the

defendant to engage in the criminal conduct.” Mathews, 485 U.S. at 63 (citing

Sherman, 356 U.S. at 376-78; United States v. Russell, 411 U.S. 423, 435-36

(1973); Hampton v. United States, 425 U.S. 484, 489 (1976)). “[I]nducement

means government solicitation of the crime plus some other government

conduct that creates a risk that a person who would not commit the crime if

left to his own devices will do so in response to the government’s efforts.”

United States v. Mayfield, 771 F.3d 417, 434–35 (7th Cir. 2014). The defendant

must show more than that he was offered an “ordinary opportunity to commit

the charged crime.” Id. at 433. He must point to “plus factors”—some “conduct

by government agents that creates a risk that a person who otherwise would

not commit the crime if left alone will do so in response to the government’s

efforts.” United States v. Barta, 776 F.3d 931, 937 (7th Cir. 2015); Mayfield,

771 F.3d at 434–35. Such conduct includes but is not limited to:

   •    Repeated attempts at persuasion;
   •    Fraudulent representations;
   •    Threats;
   •    Coercive tactics;
   •    Harassment;
   •    Promises of reward beyond that inherent in the customary execution of
        the crime;
   •    Pleas based on need, sympathy, or friendship.


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Mayfield, 771 F.3d at 435.

      “Predisposition, ‘the principal element in the defense of entrapment,’ . . .

focuses on whether the defendant was an ‘unwary innocent’ or, instead, an

‘unwary criminal’ who readily availed himself of the opportunity to perpetrate

the crime.” Mathews, 485 U.S. at 63 (quoting Russell, 411 U.S. at 433, 436,

and Sherman, 356 U.S. at 372).

      The Seventh Circuit has held that “[g]enerally speaking, entrapment is a

question for the jury, not the court.” Mayfield, 771 F.3d at 439.2 “[T]o obtain a

jury instruction and shift the burden of disproving entrapment to the

government, the defendant must proffer evidence on both elements of the

defense.” Mayfield, 771 F.3d at 440. The burden of production is “not great;”

the defendant need proffer only “some evidence” in the record “that would allow

a rational jury to conclude he was entrapped.” Id. (quoting Pillado, 656 F.3d at

764 and United States v. McGill, 754 F.3d 452, 457 (7th Cir. 2014)). “Put

another way, ‘[a]lthough more than a scintilla of evidence of entrapment is

needed before instruction in the defense becomes necessary, the defendant

need only point to evidence in the record that would allow a rational jury to




2 The Seventh Circuit decided Mayfield in 2014, and it remains the
comprehensive, definitive discussion of the entrapment defense in this circuit.
For reasons that aren’t clear to the court, the government relies on pre-
Mayfield cases—some decided fifteen to twenty years before Mayfield clarified
the entrapment standard—and at least one case from another circuit in making
its arguments. See Dkt. No. 355 at 4–5. The government acknowledges
Mayfield, but seems to relegate it to secondary status. The court has, as it
believes it must, used Mayfield as primary authority for deciding this motion.
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conclude that he was entrapped.’” Mayfield, 771 F.3d at 440 (quoting McGill,

754 F.3d at 457).

      The Mayfield court noted that “entrapment is now regularly litigated . . .

before trial,” on a motion in limine. Id. It observed that litigating the question

before trial, however, is risky, presenting the trial court with the temptation “to

balance the defendant’s evidence against the government’s, invading the

province of the jury.” Mayfield, 771 F.3d at 440 (citing United States v.

Plowman, 700 F.3d 1052, 1057 (7th Cir. 2012)); United States v. Santiago-

Godinez, 12 F.3d 722, 727-28 (7th Cir. 1993). The Seventh Circuit made plain

that “[i]n ruling on a pretrial motion to preclude the entrapment defense, the

court must accept the defendant’s proffered evidence as true and not weigh the

government’s evidence against it.” Mayfield, 771 F.3d at 440 (citing Plowman,

700 F.3d at 1057); United States v. Blassingame, 197 F.3d 271, 279 (7th Cir.

1999). The court also observed that “[p]redisposition rarely will be susceptible

to resolution as a matter of law,” because it “refers to the likelihood that the

defendant would have committed the crime without the government’s

intervention, or actively wanted to but hadn’t yet found the means.” Mayfield,

771 F.3d at 441. The court characterized this “probabilistic question” as

“quintessentially factual,” opining that “it’s hard to imagine how a particular

person could be deemed ‘likely’ to do something as a matter of law.” Id. In

contrast, the court found that the question of inducement “may be more

appropriate for pretrial resolution; if the evidence shows that the government




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did nothing more than solicit the crime on standard terms, then the

entrapment defense will be unavailable as a matter of law.” Id.

III.    Analysis

        This court is mindful of the Mayfield court’s warning of the risk of

deciding, pretrial, whether to preclude the entrapment defense. Because this

case has been pending for over three years, because the relationship between

the defendant and the informants spanned some four months, because there

are numerous recorded conversations that will be presented at trial, and

because the court has set aside a limited amount of time for the trial, the court

has chosen to take that risk and decide the motion before trial, making every

effort to consider only whether the defendant has presented information

sufficient to warrant the defense, and to avoid weighing the defendant’s

proffered evidence against any put forth by the government.

        A.    Inducement

        In Mayfield, the Seventh Circuit clarified what a defendant must show to

demonstrate support for the inducement element:

        Inducement requires more than government solicitation of the
        crime; the fact that the government’s agents initiated contact with
        the defendant and offered an ordinary opportunity to commit the
        charged crime is insufficient to raise an entrapment defense. “[T]he
        term ‘ordinary’ in this context . . . mean[s] something close to what
        unfolds when a sting operation mirrors the customary execution of
        the crime charged.” [United States v. Pillado, 656 F.3d] at 765.
        Something more is required, either in terms of the character and
        degree of the government’s persistence or persuasion, or the nature
        of the enticement or reward.

Mayfield, 771 F.3d at 433.



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      In providing this clarification, the Seventh Circuit rejected the Second

Circuit’s approach of “fold[ing]” “the principle . . . that the government’s offer of

a run-of-the-mill opportunity to commit the charged crime isn’t entrapment”

into the analysis of the predisposition element. Id. at 431. The Second Circuit

had held that the element of inducement “goes simply to the [g]overnment’s

initiation of the crime and not to the degree of pressure exerted.” Id. (quoting

United States v. Riley, 363 F.2d 955, 958 (2d Cir. 1966)). The Seventh Circuit

concluded that this conflating of inducement and predisposition would

“encompass[] almost any government solicitation of the crime, which in turn

[would] establish[] a very light trigger for the defense and require[] an inquiry

into predisposition even in cases in which the government’s agents simply

furnished the ordinary opportunity to commit the crime without additional

efforts at persuasion.” Mayfield, 771 F.3d at 431 (citing Riley, 363 F.2d at 958–

59). While agreeing that “[w]here the government’s agents merely initiate

contact with the defendant, solicit the crime, or furnish an opportunity to

commit it on customary terms, the government has not ‘induced’ the crime

within the meaning of the entrapment doctrine and the defense should be

unavailable without the need for a more complex inquiry into evidence of

predisposition,” Mayfield, 771 F.3d at 432, the Seventh Circuit enunciated a

definition of conduct that would qualify as inducement: “government

solicitation of the crime plus some other government conduct that creates a

risk that a person who would not commit the crime if left to his own devices

will do so in response to the government’s efforts.” Id. at 434–35.

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      The “other conduct” may be repeated attempts at persuasion,
      fraudulent representations, threats, coercive tactics, harassment,
      promises of reward beyond that inherent in the customary execution
      of the crime, please based on need, sympathy, or friendship, or any
      other conduct by government agents that creates a risk that a
      person who otherwise would not commit the crime if left alone will
      do so in response to the government’s efforts.

Id. at 435.

      The indictment charges the defendant with two counts of possessing an

unregistered machinegun, in violation of 26 U.S.C. §5861(d) and one count of

possessing an unregistered silencer in violation of the same statute. Dkt. No. 6.

To be entitled to present the entrapment defense, the defendant needs to have

proffered evidence that not only did the government (or, in this case, its agent

Mike) solicit those offenses, but that it engaged in some other conduct that

created a risk that the defendant would commit those offenses in response to

the government’s efforts.

      The defendant began by referencing government evidence indicating that

as early as September 2015, the defendant talked to Steve about committing

terrorist acts and obtaining a pistol. The defendant does not argue that this

constituted solicitation. The defendant argues that the solicitation began with

Mike. He has proffered evidence that on October 2, 2015, Mike showed Steve

and the defendant a gun that Mike owned. While the defendant doesn’t assert

that this was solicitation, per se, he argues that it was the beginning of an

acclimation process—Mike working the defendant into a certain mindset. The

defendant indicates that the government has evidence that on November 2,

2015—the first time Mike recorded a conversation he had with the defendant—

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the defendant indicated that he wanted “a gun” for training. Again, this does

not appear to have been solicitation—it appears that the defendant brought up

the idea of obtaining a gun. Significantly, it does not appear from the

government’s proffer that the defendant mentioned a machinegun, or a silencer.

The defendant had no criminal history; it would not have been illegal for him to

buy or own a gun, if it was the type of gun that was not subject to registration

requirements.

      The defendant’s proffered evidence indicates that between November 2

and December 7, 2015, the defendant talked with Steve and/or Mike a few

times about wanting a pistol, and that in several of those conversations, he

said that he wanted the pistol for self-protection. These conversations

culminated in the trip to the Gander Mountain sporting goods store on

December 7, 2015. The defendant proffers that it was during this trip that the

subject of buying a machinegun first came up, and that it was Mike who

brought it up.

      He cites to a portion of the taped conversation from that day, in which

Mike appears to be grilling the defendant on why he wants a handgun. The

defendant mentions that “it” is going to “flare up,” and reiterates that he wants

a handgun. Mike then says, “[o]r machinegun?” The defendant responds,

“Yeah.” But when Mike says, “Pardon me?,” the defendant replies, “A handgun,

man! What do I need a machinegun for?” Dkt. No. 234 at 10-11. The

conversation appears to have continued, with Mike asking the defendant if he’d

seen the machineguns (presumably at Gander Mountain), and the defendant

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response that machineguns are “too big for us right now, we do not want it.” Id.

The defendant continues by asking where they would put machineguns, and

concludes by saying that a handgun “is enough.” Id. Finally, the defendant

says that when Mike dropped the defendant off after this trip, he told the

defendant that he’d be getting guns with no serial numbers. Id. at 11.

      Arguably, Mike’s statements about machineguns constituted a

solicitation. The defendant says that he went to Gander Mountain with Mike to

look for the handgun he wanted for protection, and that Mike began to suggest

a machinegun instead, or a gun without serial numbers. In its response to the

defendant’s motion, the government identified other portions of the

conversation which it says support the conclusion that the defendant was

predisposed to commit a violent crime. But the Seventh Circuit was clear that

this court should not weigh that evidence against the defendant’s proffer; that

is the jury’s job. Even so, this one conversation, standing alone, appears to be

the kind of run-of-the-mill offer of an opportunity to commit a crime that the

Seventh Circuit has said does not constitute inducement.

      A week later, Mike took the defendant to a shooting range. The defendant

proffers that he’d told Mike earlier that he’d never been shooting before. The

defendant says that during this trip, Mike “badgered” the defendant about

carrying out an “operation” and demanded to know why the defendant wanted

a handgun.

      After the shooting range trip, Mike stopped recording his conversations

with the defendant, but the defendant proffers that they continued to have

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daily contact. The defendant proffers that just under a month later, on January

4, 2016, Mike reported to his FBI contacts that the defendant had asked Mike

to help him obtain a “weapon” for himself and a co-worker, because the co-

worker had been carjacked, and because “the war will be soon . . . you’ll see.”

Dkt. No. 234 at 13.

      The defendant proffers that it was not until January 19, 2016—the day

Steve, Mike and the defendant toured the Masonic Center—that Mike reported

the defendant had talked to him in the two days prior about having saved

$7,000 for a trip to Texas with Mike to buy “AK-47s, silencers, and bullet-proof

vests.” Dkt. No. 234 at 15. Assuming this conversation took place—the

defendant points out that the alleged conversation was not recorded—the

defendant argues that the reference to AK-47s is significant. He proffers that

after Mike first showed the defendant a gun back in early October 2015, the

defendant had asked Mike about his “Kalashnikov.” Id. at 8. Some of the other

conversations between the men involved mentions of Kalashnikovs, the Soviet

assault rifles also known as AK-47s; the defendant says that during the

Gander Mountain trip, Mike told the defendant that they could buy cheap

“Kalashnikovs” from a man in Texas, dkt. no. 234 at 11, and that during the

December 14, 2015 trip to the shooting range, the defendant asked Mike why

Mike hadn’t brought his “Kalashnikov,” Id. at 12. The defendant points to these




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references as evidence of Mike’s campaign to acclimate the defendant to the

idea of buying, or possessing, machineguns.3

       The defendant points to this pattern of acclimation, as well as the fact

that Steve and Mike continued to interact with him over the next few days and

to discuss the notion that the Masons were in league with ISIS, until they met

with the agents to purchase the guns. The defendant also points to the facts

that he continually rejected the idea of using the guns to carry out the plan to

attack the Masons, that Steve lent him some of the money he thought he

needed to buy the gun, and that the agents reduced the price of the guns on

the spot when he and Steve did not have the amount the agents were asking

for. Finally, he points to the fact that the agents sold him the gun at a

drastically reduced price. All these facts, the defendant argues, constituted

“other conduct,” the something more than routine solicitation that the Mayfield

court said was necessary to justify an entrapment defense.

       Considering the facts as proffered by the defendant, without weighing

those facts against the government’s, the court agrees that the defendant has

submitted evidence upon which a reasonable jury could rely to conclude that

the government induced the defendant to buy the machine guns on January



3The parties appear to agree that Steve, Mike and the defendant used the word
“Kalashnikov” interchangeably with the word “machinegun.” According to
Encyclopedia Britannica, Mikhail Kalashnikov designed a fully-automatic
version of his Kalashnikov rifle in 1947 (thus the name “AK-47,” for “automatic
Kalashnikov” designed in 1947). https://www.britannica.com/technology/AK-
47. Today, Kalashnikov USA™ manufactures semi-automatic Kalashnikovs,
such as the KR-9 9mm SBR. https://www.kalashnikov-usa.com/product/kr-
9-sbr/.
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25, 2016. A jury could conclude that on November 2, 2015, Mike planted the

idea of purchasing a machinegun in the defendant’s mind. A jury could

conclude that it was Mike who brought up the idea of Kalashnikovs, Mike who

came up with the idea of purchasing them cheaply through a seller in Texas,

and Mike who brought up the idea of buying guns without serial numbers. A

jury could conclude that Mike was persistent enough, raising the issue of a

machinegun (as opposed to the pistol the defendant had stated several times

that he wanted) that the defendant expressed frustration with repeated

attempts.

      On a broader scale, a jury could conclude that it was Mike or Steve or

both who came up with the idea of an attack on the Masons, and the

suggestion that the Masons were in league with ISIS and posed a threat to

Muslims. The defendant proffers that none of the men had talked about this

notion in any of the recorded conversations from November and December

2015; the first time the idea surfaced was when Mike reported to the agents in

mid-January that the three had been watching YouTube videos and talking

about it. There is a month-long gap between the trip to the shooting range and

January 19, 2016, during which Mike did not record his conversations with the

defendant, and when he resumes recording, the idea of the attack on the

Masons seems to appear, as the defendant put it, “out of the blue.” Even if a

jury believed that in the fall of 2015 the defendant had talked about Jihad and

going to the Middle East to commit attacks, it could conclude that it was Mike

and Steve who brought up the idea of a domestic attack on the Masons, and

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who pushed it even when the defendant expressed a desire to back out after

speaking with the Imam.

      A reasonable jury might also conclude that Mike used his friendship with

the defendant to induce him to do something he otherwise would not have

done. The defendant proffered evidence that Mike wove himself completely into

the defendant’s life through work, trips to gun stores, outings at the shooting

range and social outings. The evidence indicates that the two saw each other

constantly for some four months. Although the defendant has not proffered

evidence that Mike appealed to their common struggle as Muslims to convince

the defendant to purchase unregistered machineguns, see Mayfield, 771 F.3d

at 441 (confidential informant appealed to defendant through their “common

struggle as convicted felons trying to make a living”), a jury might conclude

that Mike, through his friendship with the defendant, put all the constituent

pieces in the defendant’s head: the idea of a Kalashnikov or a machinegun

instead of a pistol, the ability to buy cheap machineguns, possibly without

serial numbers, from a guy in Texas, the killing-power advantage of a

machinegun over a pistol, possibly the theory that the Masons somehow

created or were in league with ISIS.

      A jury could go a step farther and conclude that Mike both introduced

the defendant to guns and blurred the lines between legal and illegal weapons.

The defendant asserts that he had no history with guns before meeting Mike,

and that the recorded conversations show that he did not have a gun and had

not been to a shooting range. After he met Mike, however, the defendant

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appears to have seen a gun (when Mike, the defendant and Steve saw a gun in

Mike’s car). Mike appears to have led the defendant to believe that he had a

Kalashnikov. The defendant took trips to the shooting range with Mike,

possibly learning to fire a gun or firing one for the first time. Mike took the

defendant to Gander Mountain. Mike referred to some of the guns at Gander

Mountain as “machineguns.” And Mike was the person with the connection for

buying illegal guns.

      A reasonable jury also could conclude that the undercover FBI agents

who appeared on January 25, 2016 induced the defendant to purchase the

guns, by first offering them at what the defendant asserts was a steeply

discounted price, and then dropping the price twice to accommodate the sale.

      The parties’ briefs show that the defendant and the government

frequently view the same events, even the same words, through very different

lenses. They have conflicting characterizations for what the defendant and the

informants intended or meant at given times. And the government asserts that

it has evidence to counter, and discredit, the evidence the defendant has

proffered. That may well be, and the court expects that the government will

present that evidence at trial. But this court must hew to the clear instructions

of the Seventh Circuit and avoid the temptation to usurp the jury’s job by

weighing the conflicting evidence. The court finds that the defendant has

proffered evidence of more than mere solicitation, and that it is sufficient

evidence to meet the inducement prong of the entrapment defense.




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      B.     Predisposition

      The Mayfield court explained that a person is “predisposed to commit the

charged crime” if he is “presently ready and willing to commit the crime,” and

“likely would have committed it without the government’s intervention, or

actively wanted to but hadn’t yet found the means.” Mayfield, 771 F.3d at 438.

A defendant’s “inclinations” and “fantasies” do not constitute predisposition;

they are “his own and beyond the reach of government . . . .” Jacobson, 503

U.S. at 551–52 (quoting Paris Adult Theatre I v. Slaton, 413 U.S. 49, 67

(1973)). As noted above, Mayfield characterized predisposition as “chiefly

probabilistic, not psychological.” Mayfield, 771 F.3d at 428. The defendant

“must be so situated by reason of previous training or experience or occupation

or acquaintances that it is likely that if the government had not induced him to

commit the crime some criminal would have done so.” Id. at 436 (quoting

United States v. Hollingsworth, 27 F.3d 1196, 1206 (7th Cir. 1994) (emphasis

in the original)).

      Predisposition is measured “at the time the government first proposed

the crime,” not before. Mayfield, 771 F.3d at 438. This does not mean that the

defendant’s conduct after meeting government agents is irrelevant to the

analysis. Id. at 437. Rather, the government’s inducement is “significant chiefly

as evidence bearing on predisposition: the greater the inducement, the weaker

the inference that in yielding to it the defendant demonstrated that he was

predisposed to commit the crime in question.” Id. (quoting Hollingsworth, 27

F.3d at 1200).

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      The Seventh Circuit has established a “non-exclusive list of five factors to

determine whether the defendant was predisposed to commit the charged

crime.” Mayfield, 771 F.3d at 435. These factors are:

      1. The defendant’s character or reputation;
      2. Whether the government initially suggested the criminal activity;
      3. Whether the defendant engaged in the criminal activity for profit;
      4. Whether the defendant evidenced a reluctance to commit the offense
            that was overcome by government persuasion; and
      5. The nature of the inducement or persuasion by the government.

Id. (citations omitted). “No one factor controls, and the ‘most significant is

whether the defendant was reluctant to commit the offense.’” Id. (quoting

Pillado, 656 F.3d at 766).

      The parties disagree on whether the law requires the government to show

that the defendant was predisposed to commit a crime, or whether it must

show that he was predisposed to commit the specific crime charged. Dkt. No.

255 at 25. The government argues that “[t]he defendant’s predisposition need

not be to commit precisely the same crime as that charged,” and that “it need

only be to commit the same or a similar crime.” Id. In support of this argument,

the government cites several cases, only two of which were decided by the

Seventh Circuit: United States v. Lewis, 641 F.3d 773,783 (7th Cir. 2011) and

United States v. Moschiano, 695 F.2d 236, 244 (7th Cir. 1992). The defendant

correctly points out, however, that neither of these cases stand for the

proposition the government asserts.

      The defendant in Lewis presented the affirmative defense of entrapment

at his trial on charges of drug conspiracy and using and carrying a gun in

relation to a drug offense. Lewis, 641 F.3d at 779. “To rebut Lewis’ entrapment
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defense, the government was allowed to introduce evidence of two prior

convictions during its case-in-chief, specifically a 1995 conviction for

possession of a firearm by a felon, and a 2000 conviction for theft (pled down

from residential burglary).” Id. On appeal, the defendant argued that the

district court abused its discretion by allowing the government to present the

two prior convictions. Id. at 783. Judge Evans, writing for the court, noted that

normally, evidence of a defendant’s prior bad acts was not admissible to show

his character under Fed. R. Evid. 404(b). Id. He explained, however, that “when

a defendant employs an entrapment defense, evidence of prior bad acts is

admissible to prove predisposition ‘because in such a case the defendant’s

predisposition to commit the charged crime is legitimately at issue.’” Id.

(quoting United States v. Swiatek, 819 F.2d 721, 728 (7th Cir. 1987)).

      But the court went on to explain that “[t]o be admissible, however, this

evidence [of prior bad acts] must show an act that is similar enough and close

enough in time to be relevant to the matter at issue, and its probative value

must not be substantially outweighed by the danger of unfair prejudice.” Lewis,

641 F.3d at 783. The Seventh Circuit reviewed the information that the trial

court had allowed the government to present—the “titles, dates, and

dispositions of Lewis’ 1995 and 2000 convictions”—and decided that the trial

court did not abuse her discretion in allowing that evidence to show “a pattern

of behavior of someone who has an intent, first, to use a firearm unlawfully,

and, secondly, to enter into a residence and commit theft.” Id.




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      The court imagines that, at trial, the government will seek to introduce

evidence to rebut the entrapment defense, and that some of that evidence

might otherwise be prohibited under Rule 404(b). If so, the court will consider

the parties’ arguments in that context. But the court cannot conclude that the

Lewis court’s holding amounts to a holding that all the government needs to do

is show that the defendant was predisposed to commit a crime like the one

with which he is charged in order to prove predisposition.

      Nor does Moschiano support the government’s position. Moschiano was

charged with conspiracy to distribute and distribution of heroin. Moschiano,

695 F.2d at 238. At trial, he asserted an entrapment defense, admitting that he

delivered heroin to an undercover agent but arguing that it was all the

informant’s idea. Id. at 239. In rebuttal, “the government introduced in its

case-in-chief evidence of Moschiano’s participation in other narcotics

transactions occurring prior to his arrest . . . .” Id. On appeal, the defendant

conceded that it was not error for the court to allow the government to present

evidence of his prior drug dealing to rebut his entrapment defense, but argued

that evidence of subsequent bad acts was irrelevant. Id. at 243-44. The Seventh

Circuit concluded that “subsequent similar acts may, under proper

circumstances, be admissible to prove the defendant’s predisposition to commit

the crime charged,” though it noted that subsequent acts were “less probative

on this issue than prior similar acts.” Id. at 244 (citations omitted). The court

stated that “the admissibility of any particular subsequent act will depend on a

number of factors, especially the balancing of probity and prejudice mandated

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by Rule 403,” and clarified that it held “only that such evidence is not always

inadmissible.” Id.

      Again, the government will have the ability at trial to present evidence to

rebut the defendant’s entrapment defense, and the court will rule on any

disputes as to the admissibility of any such evidence at that time. But

Moschino does not stand for the proposition that if the defendant was

predisposed to commit a similar crime, the court must preclude him from

presenting an entrapment defense.

      The government’s argument also does not square with the Seventh

Circuit’s language in Mayfield. The Mayfield court stated that “[e]ntrapment is a

defense to criminal liability when the defendant was not predisposed to commit

the charged crime before the intervention of the government's agents . . . .”

Mayfield, 771 F.3d at 420 (emphasis added). It stated that “our circuit has long

used a nonexclusive list of five factors to determine whether the defendant was

predisposed to commit the charged crime.” Id. at 435 (emphasis added). It said

that “[w]e know from Sherman and Jacobson that predisposition requires more

than a mere desire, urge, or inclination to engage in the charged criminal

misconduct.” Id. (emphasis added). Pages later, it asked whether “any history of

criminal misconduct [is] sufficient to make the defendant ‘predisposed,’ or

must the defendant's prior crimes be similar to the charged offense?” Id. at 437

(emphasis on “any” in the original; emphasis on “charged offense” added). And

most telling, in answering the previous question, the Mayfield court noted that

the Supreme Court “has said that ‘the principal element in the defense of

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entrapment [i]s the defendant’s predisposition to commit the crime’—not just

any crime.” Id. at 438 (emphasis in original) (quoting United States v. Russell,

411 U.S. at 433).

      The court also disagrees with the government that “[t]he nearest case to

this one in the federal case law is United States v. Cromitie, 727 F.3d 194 (2d

Cir. 2013).” Dkt. No. 255 at 31. First, Cromitie is a Second Circuit decision that

pre-dates Mayfield. As the court already has discussed, the Mayfield court

explicitly rejected the Second Circuit’s approach of conflating the inducement

and predisposition prongs of the entrapment defense. The government may

acknowledge this in footnote 6 of its brief, but the court isn’t sure; the

government says that the Second Circuit “did not adopt the Seventh Circuit’s

‘positional predisposition’ requirement,” but argues that the rest of the

Cromitie decision applies. Id. at 34, n.6. This is a bit of an odd argument—

given that the Seventh Circuit decided Mayfield after its sister circuit decided

Cromitie, it seems more relevant that the Seventh Circuit rejected the Cromitie

reasoning than that the Second Circuit did not adopt the Seventh Circuit’s

reasoning.

      Second, although the Second Circuit rejected Cromitie’s claim that the

evidence established entrapment as a matter of law, it did so after a full-fledged

trial. Cromitie, 727 F.3d at 204. “The defendants presented their defense of

entrapment to the jury through cross-examination and summations,” and the

Second Circuit noted that “[b]y its verdicts of guilty, the jury rejected the

defense.” Id. at 209–10. The court stated, “[o]n appeal, the defendants contend

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that entrapment was established as a matter of law, a claim we understand to

mean that on the facts of this case, no reasonable jury could find

predisposition beyond a reasonable doubt.” Id. at 210. As to Cromitie, the court

concluded that although there was inducement, id., the evidence in the record

was sufficient to allow the jury to conclude that he had a predisposition to

commit the terrorist act with which he was charged, id. at 210–15.

      The procedural posture of the two cases makes a difference. The trial

court allowed Cromitie to present an entrapment defense. The defense did not

prevail with the jury, but the trial court allowed him to present it. The

defendant here asks this court to allow him to present such a defense, and at

this stage, the court need only determine whether the defendant has submitted

sufficient evidence to be granted that request. The government insists that its

version of the evidence proves “as a matter of law” that the defendant “was

predisposed to buy the automatic weapons and silencer he bought.” Dkt. No.

255 at 31. This argument flies in the face of the Mayfield court’s observation

that “[p]redisposition rarely will be susceptible to resolution as a matter of law,”

because it “refers to the likelihood that the defendant would have committed

the crime without the government’s intervention, or actively wanted to but

hadn’t yet found the means.” Mayfield, 771 F.3d at 441. The Mayfield court

made that observation in the context of discussion pretrial resolution of

entrapment motions, observing that it found it hard to imagine “how a

particular person could be deemed ‘likely’ to do something as a matter of law.”




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Id. That is why the Mayfield court concluded that predisposition was a

“quintessentially factual” inquiry, appropriately left to a jury. Id.

      Third, Cromitie was, to paint with a broad brush, a terrorism case. The

defendants were “convicted of planning and attempting to carry out domestic

terrorism offenses involving a plot to launch missiles at an Air National Guard

base . . . and bomb two synagogues . . . .” Cromitie, 727 F.3d at 199. That

matters, given how the Second Circuit reached its decision on what was

necessary to prove predisposition. The Cromitie court referenced its 1933

decision in United States v. Becker, 62 F.2d 1007, 1008 (2d Cir. 1933), in

which Judge Learned Hand “postulated three circumstances, any one of which

would become the accepted means in this Circuit of establishing a defendant’s

predisposition: ‘an existing course of similar criminal conduct; the accused’s

already formed design to commit the crime or similar crimes; his willingness to

do so, as evinced by ready complaisance.’” Id. at 205 (quoting Becker, 62 F.2d

at 1008) (emphasis in the original). The court then stated, “as far as we have

been able to determine, no decision of our Court has encountered a jury’s

rejection of an entrapment defense where the prosecution’s claim of

predisposition rests solely on the defendant’s already formed ‘design,’ i.e.,

without prior criminal conduct or prompt agreement to commit the offense, we

consider the meaning of ‘design’ in some detail.” Cromitie, 727 F.3d at 206.

      After recounting other Second Circuit cases that had considered this

“already-formed design” evidence of predisposition, the Cromitie court said,

      When used as one of the three means of showing predisposition, we
      think “design” must take its meaning from the context of the type of
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      criminal activity comprising the specific offenses a defendant has
      committed. With respect to a category as varied as terrorist activity,
      the requisite design in the mind of a defendant may be broader than
      the design for other narrower forms of criminal activity. In view of
      the broad range of activities that can constitute terrorism, especially
      with respect to terrorist activities directed against the interests of
      the United States, the relevant prior design need be only a rather
      generalized idea or intent to inflict harm on such interests. A person
      with such an idea or intent can readily be found to be “ready and
      willing to commit the offence charged, whenever the opportunity
      offered.”

Id. at 207.

      The government quotes this portion of Cromitie, arguing that the same

can be said of the defendant’s alleged participation in a plan to attack the

Masonic Center. Dkt. No. 255 at 3. But this argument ignores two critical facts:

the “design” theory of predisposition articulated by Judge Hand and the Second

Circuit has not been adopted by the Seventh Circuit, and this defendant has

not been charged with committing a terrorist offense. This defendant has been

charged only with possessing two unregistered machine guns and an

unregistered silencer. Even if the Seventh Circuit had adopted some corollary

to the Second Circuit’s “design” theory of predisposition, the question would be

whether there was evidence that this defendant had a pre-formed “design” to

obtain unregistered machineguns and silencers.

      Particularly troubling to the court in this case is the government’s

argument in response to the defendant’s assertion that it is difficult to buy fully

automatic machineguns on the street. The court does not know whether it is

difficult for someone to buy a machinegun on the street, but that somewhat

innocuous assertion by the defendant in support of his argument that he

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wouldn’t have known how to get a machinegun if not for Mike elicited this

response from the government:

            [The defendant] claims his case is like one in which the
      government sold him . . . a nuclear weapon. It is not. First,
      machineguns are available for street purchase. They are seized in
      Milwaukee, in Chicago, in Texas, and nationwide all the time. [The
      defendant] wanted such weapons, and he could have gotten them.
      Over 3,000 illegal machineguns were seized between 2016 and 2018
      in the United States . . . .

             Second, and perhaps even more importantly, aftermarket
      parts that convert semiautomatic guns that a person can buy at any
      sporting goods store into automatic weapons, like bump stocks and
      Glock switches, are gallingly inexpensive and accessible. Contrary
      to [the defendant’s] claim in his motion [that it is difficult to buy a
      machinegun on the street], he could easily have acquired a simple,
      fully-automatic converter. These parts are still available for
      purchase online (not merely on the dark web, but) on websites like
      wish.com. For $16, [the defendant] could have converted a cheap
      semiautomatic handgun into precisely the small automatic weapon
      he wanted.

               At the time of the charged offense, [the defendant] could quite
      literally have bought one on Amazon.com. Thousands and
      thousands of them have been shipped into the United States, for
      under $20 each. . . . Just because [the defendant] had not yet
      available himself of this possibility does not mean he was entrapped
      . . . . You cannot buy a nuclear weapon on Amazon.com for $16.

Id. at 34-35.

      The first argument—that machineguns are not so hard to come by on the

street—may be an appropriate argument for the government to raise at trial to

rebut the entrapment defense. But the second argument—that someone who

expresses a desire to buy a legal handgun is predisposed to purchase an illegal

one because the means to convert the legal weapon to an illegal one are

available to anyone—stretches the predisposition argument to the breaking

point. It seems a bit like arguing that someone who wishes that he had more
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money is predisposed to counterfeiting because one can buy good paper, ink

and printers at any office supply store.

      The court concludes that Mayfield, not Cromitie, is the law that governs,

and that under Mayfield, the question at this stage is whether the defendant

has proffered sufficient evidence to support a reasonable jury’s conclusion that

he was not predisposed to commit the crimes with which he is charged—

possession of unregistered machine guns and an unregistered silence—before

the government intervened.

      The defendant asserts that there is no evidence that prior to meeting

Mike, the defendant was inclined to purchase a machinegun. The defendant’s

friend Steve didn’t mention to the FBI in September 2015 that the defendant

wanted a machinegun. The defendant says that there is no evidence that he

searched for machineguns online or made any effort to find one. The defendant

argues that, at best, the evidence shows that on multiple occasions, he

expressed to Mike his interest in getting a pistol—something that he says

would have been legal for him to do, given that he was not a prohibited person.

Dkt. No. 234 at 8–11. The defendant’s desire to purchase a handgun legally is

not evidence that he was predisposed to purchase a machinegun illegally. See

Jacobson, 503 U.S. at 551–52 (personal inclination for child pornography is

not evidence that a defendant would purchase that pornography in the mail).

      The defendant argues that whenever Mike brought up machineguns, the

defendant not only expressed reluctance to purchase one, but refused. For

example, he points to the exchange after the visit to Gander Mountain, when,

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in response to Mike’s suggestion of a machinegun, the defendant stated, “A

handgun, man! What do I need a machinegun for? Dkt. No. 234 at 10. That

same conversation, he says, included this exchange:

             Mike: Did you see the machine guns?
             Defendant: What?
             Mike: Did you see the machine guns?
             Defendant: A machine gun is too big for us right now, we do not
             want it.
             Mike: Yeah?
             Defendant: Where are you going to put the machine guns?
             Mike: Yeah [Pause] So we would know, man.
             Defendant: A handgun is enough.
             Mike: What?
             Defendant: A handgun is enough. I like this handgun with the
             wheel.

Id. at 11. The defendant points to the fact that when Mike tells the defendant

he’ll be getting “guns with no serial numbers,” the defendant refuses and says

that “they will ‘fuck you’ if [Mike] buys illegal guns.” Id. at 11–12.

      The defendant asserts that he agreed to purchase a machinegun only

after months of nearly daily contact with Mike and only after the informants

began to discuss the notion of the Masons being in league with ISIS. Id. at 15,

16–17. He argues that even then, when he saw the guns on January 25, he

was “dismayed” that they were not guns like the ones Mike had described, and

that he got into an argument with Mike after the purchase. The government

disagrees with the defendant’s characterizations of these exchanges, but again,

it is not for the court to weigh the defendant’s interpretation of the evidence

against the government’s. That is the jury’s job. The court must decide only

whether the defendant has presented enough evidence to allow a jury to



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conclude that he was not predisposed to buy machineguns and a silencer, and

the court concludes that he has.

IV.    Procedural Note

       By this ruling, the court is allowing the defendant to present evidence of,

and to argue, entrapment at trial. The court also will allow the government to

present evidence and argument rebutting that defense. The court anticipates

that both parties may raise specific objections to certain evidence as the trial

unfolds; the court will, as it has indicated, rule on those objections as they

arise. The court is not, at this early stage, agreeing to give an entrapment

instruction to the jury. The court will consider the evidence as it comes in at

trial and will decide whether an entrapment instruction is appropriate based

on that evidence, after hearing argument from the parties.

V.     Conclusion

       The court GRANTS the defendant’s first motion in limine requesting leave

to present an entrapment defense. Dkt. No. 234.

       Dated in Milwaukee, Wisconsin this 24th day of September, 2019.

                                      BY THE COURT:


                                      _____________________________________
                                      HON. PAMELA PEPPER
                                      United States District Judge




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